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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ALPHA PHI ALPHA FRATERNITY,
INC., a nonprofit organization on behalf
of members residing in Georgia, et al,                CIVIL ACTION FILE
   Plaintiffs,
                                                     No. 1:21-CV-5337-SCJ
v.

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,
  Defendant.


                                         ORDER

       This matter is before the Court for purposes of perfecting the record as to

its rulings made during the preliminary injunction hearing on February 7, 2022.

As stated at the hearing, Plaintiffs’ Emergency Motion to Exclude Expert

Testimony (Doc. No. [75]) is DENIED.1

       IT IS SO ORDERED this 29th day of March, 2022.


                                       HONORABLE STEVE C. JONES
                                       UNITED STATES DISTRICT JUDGE



1 The Court’s verbal ruling is in the record at Doc. No. [112], Feb. 7, 2022, Morning

Tr. 27:1–4.
